CaSe 1-19-40750-nh| DOC 10 Filed 03/22/19 Entered 03/22/19 11212213

 

Return Date: May 21, 2019

 

 

 

 

 

UNITED sTATEs BANKRUPTCY CoURT T"“e: 2=3° P'M'
EAsTERN DISTRICT oF NEW YoRi<
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Chapter 7
Michelle R. Roller, Case no. 19-40750-NHL
NoTICE oF Mo'rloN FoR
RELIEF PRoM AUTOMATIC s'rAY
Debtor.
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PLEASE TAKE NOTICE that upon the annexed motion of Knuckles, Komosinski &
Manfro LLP, Ernest A. Yazzetti, ]r., Esq. on behalf of Selene Finance LP, as servicer for MTGLQ
lnvestors, L.P. (the ”Movant”) Will move this Court on:

May 21, 2019, at 2:30 P.M.
at the
United States Bankruptcy Court
Eastern District of NeW York
Conrad B. Duberstein U.S. Courthouse
271-C Cadman Plaza East
Brooklyn, NY 11201~1800
Courtroom 3577

or as soon thereafter as Courlsel Can be heard, for an Order pursuant to 11 U.S.C. §362(d)(2)
granting the Movant relief from the automatic stay as it applies to property located at 490 Van
Duzer Street, Staten Island, NY 10304, and for such other and further relief as this Court may
deem just and proper

Dated; March 22, 2019
Elrnsford, New Yorl<
Knuckles, Komosinski & Manfro LLP
Attorneys for Selene Finance LP, as servicer
for MTGLQ lnvestors, L P.

By LZM M zM/
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